EXHIBIT 14
                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SIMPLEAIR, INC.                                 §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §   Case No. 2:14-cv-00011-JRG
                                                §
GOOGLE INC., et al.,                            §
                                                §
                                                §
       Defendants.                              §
                                                §


                       ORDER REGARDING MOTIONS IN LIMINE

       Before the Court are Plaintiff’s Motions in Limine (Dkt. No. 212) and Defendants’

Motions in Limine (Dkt. No. 211). The Court held a first pretrial conference in this case on

September 9, 2015. On September 11, 2015, the Court held a second pretrial conference. The

following summarizes and memorializes the Court’s rulings at these hearings:

Plaintiff’s Motions in Limine (Dkt. No. 212)

1.     No evidence or argument comparing the preferred embodiments or the commercial

       embodiment to the accused instrumentalities.

       GRANTED.

2.     No evidence or argument comparing the prior art to SimpleAir’s infringement theories

       rather than the Court’s constructions.

       GRANTED.

3.     No uncorroborated testimony about prior art systems or their use.

       DENIED.



                                                1
4.    No expert testimony from non-designated experts, including (a) third party prior art

      witnesses, (b) inventors as to claim construction, validity, or infringement, or (c) Google

      employees as to validity, non-infringement, or non-infringing alternatives.

      DENIED. The parties are ORDERED to follow the Federal Rules of Civil Procedure

      and this Court’s customary practice.

5.    No evidence or argument concerning undisclosed invalidity contentions and art.

      GRANTED-IN-PART. The Motion is GRANTED with regard to obviousness

      combinations not previously disclosed. The Motion is DENIED with regard to

      NovaMail.

6.    No evidence or argument challenging SimpleAir’s ownership or standing.

      GRANTED.

7.    No evidence or argument about the founding or irrelevant achievements of Google.

      GRANTED. However, Plaintiff and Defendant are entitled to give a limited factual

      introduction of their clients.

8.    No evidence or argument about Google’s own patents.

      DENIED.

9.    No evidence or argument about valuations of the patents during AirMedia bankruptcies

      or other numbers disclosed in any of the bankruptcies that purport to value the patents.

      GRANTED-IN-PART. The Motion is GRANTED as to the schedules, petitions, and

      pleadings in bankruptcy. The Motion is DENIED as to any evidence regarding any arms-

      length transactions which may have occurred during bankruptcy.

10.   No argument or evidence about whether Payne and von Kaenel offered a stake in

      SimpleAir to others, such as Rose, Katz, Starr, or Wang.



                                               2
      GRANTED.

11.   No evidence or argument about SimpleAir’s lawsuits or agreements with parties other

      than Apple, Microsoft, RIM, Google, or Amazon.

      DENIED-IN-PART. The Motion is DENIED with regard to SimpleAir’s licenses with

      content providers. Defendants conceded the Motion as to the mobile operating systems in

      their brief, and the parties are bound to their briefing.

12.   No evidence or argument going solely to the issue of prosecution laches.

      GRANTED. Defendants are granted leave to approach the bench if they feel such

      evidence has become relevant.

13.   No evidence or argument about the Court’s JMOL Order in Smartflash.

      GRANTED.

Defendants’ Motions in Limine (Dkt. No. 211)

 I.   No references to the prior Google-SimpleAir Litigation (SimpleAir I).

      GRANTED as to the trial on validity and infringement. DENIED as to the trial on

      damages and willfulness.

II.   No argument that the “market willingness to pay” for the accused technology is revenue

      that Defendants have actually received (or could actually receive).

      GRANTED-IN-PART. Plaintiff is precluded from presenting testimony that a portion

      of the sales price of the accused devices is revenue to Google. This Motion is DENIED

      as to direct revenue payable to Google from advertising or other conduct outside of the

      sales price of the accused devices. To the extent that Plaintiff puts on evidence of the

      public’s willingness to pay for the accused devices, and to the extent that Plaintiff

      attempts to apportion part of the sales price as a way to establish the value of their



                                                 3
        patented functionality, the Court ORDERS that Plaintiff designate and refer to this as

        “value,” and not as “revenue.”

 III.   No evidence or argument of new or undisclosed damages opinions.

        DENIED. The parties are ORDERED to follow the applicable rules of Federal Civil

        Procedure and this Court’s customary practice.

 IV.    No evidence or testimony regarding the SimpleAir-Amazon agreement.

        DENIED.

  V.    No evidence about the qualifications of SimpleAir I expert Dr. Srinivasan.

        DENIED.

 VI.    No evidence or testimony on aspects of Dr. Sukumar’s survey that were not corroborated

        or disclosed in his report.

        GRANTED-IN-PART. Plaintiff is precluded from providing evidence or testimony

        regarding what focus group participants did or did not say. This Order does not preclude

        Plaintiff from identifying that focus groups were a component used in developing the

        survey. Except for the relief granted above, the remainder of this motion is DENIED.

VII.    No testimony, evidence, or argument regarding Defendants’ total sales data, total

        revenues, advertising revenues, size or financial worth.

        GRANTED-IN-PART. The Motion is GRANTED as to total sales, total revenue, and

        advertising and financial worth of the Defendants. The Motion is DENIED as to

        revenues, profits, and income related to the Android platform.

VIII.   No pejorative argument or testimony regarding corporate residency.

        GRANTED-IN-PART. The Motion is GRANTED as to any kind of characterization,

        implication, or denigration related to the parties’ residencies. The Motion is DENIED as



                                                 4
       to a clear factual introduction of the identity of the parties and the locations of their

       residences and places of conducting business.

IX.    No evidence or argument regarding proceedings before the PTO or PTAB.

       GRANTED-IN-PART. If the Defendants offer prior art in this case that has been before

       the PTO, whether through the issuance of the patents-in-suit or through a later re-exam,

       the Plaintiff is entitled to show the jury that the PTO previously considered that prior art.

       This Order does not preclude Plaintiff from introducing evidence as to the circumstances

       under which a settlement or license was arrived and the context of such transaction,

       including whether other proceedings were a factor, in Plaintiff’s damages case.

 X.    No evidence or argument about Defendants’ patent lobbying efforts or corporate views

       and policies on patents.

       GRANTED.

XI.    No questions during voir dire seeking to commit jurors to any particular range or amount

       for damages.

       DENIED.

XII.   No evidence, argument, or testimony regarding discovery disputes.

       GRANTED.


So Ordered and Signed on this


Oct 5, 2015




                                                  5
